                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:96CR134

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                                ORDER
TYRONE SIFFORD (1),                 )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s pro se “Motion Pursuant to Rule

60(b) of the Federal Rules of Civil Procedure,” filed October 17, 2005.

       On February 13, 1997, a jury found Defendant Sifford (“Defendant”) guilty of conspiracy

to possess with intent to distribute cocaine and cocaine base, in violation of 21 U.S.C. §§

841(a)(1) and 846 (Count One), and conspiracy to use and carry a firearm in relation to a drug

trafficking crime, in violation of 18 U.S.C. §§ 924(c), (n). On June 30, 1997, Defendant was

sentenced to life imprisonment on Count One and 240 months imprisonment on Count Four, to

run concurrently with Count One. Defendant appealed his conviction and on January 13, 2000,

the United States Court of Appeals for the Fourth Circuit affirmed Defendant’s conviction and

sentence. Subsequently, on May 16, 2000, Defendant filed a Motion to Vacate, Set Aside, or

Correct Sentence, pursuant to 28 U.S.C. § 2255, which the Court dismissed in an Order dated

November 26, 2001. Defendant appealed this denial to the Fourth Circuit, and, on September 25,

2002, the Fourth Circuit Court of Appeals issued its Mandate, affirming the dismissal of

Defendant’s Section 2255 Motion.

       Defendant now argues that by redacting the Bill of Indictment prior to submitting the case


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to the jury for deliberations, the Court constructively amended the Indictment in violation of

Defendant’s constitutional rights. Specifically, Defendant maintains that the Court’s finding that

there was no evidence at trial to support the overt act alleged in Count Four and its deletion of

that portion from the Indictment rendered the entire Indictment void and created actual prejudice

to Defendant.

        First, the Court finds that Defendant is improperly attempting to bring this Motion

pursuant to the Federal Rules of Civil Procedure, which are inapplicable to a criminal matter.

Nonetheless, the Court will still examine Defendant’s allegations.

        Second, “due process is not offended when an amendment ‘drop[s] from an indictment

those allegations that are unnecessary to an offense that is clearly contained within it. . . .”

United States v. Byram, 73 Fed. Appx. 586, 587, 2003 WL 21995320 at * 2 (4th Cir. 2003)

(quoting United States v. Miller, 471 U.S. 130, 144, 105 S. Ct. 1811, 85 L. Ed. 2d 99 (1985)).

Amendments to indictments only implicate federal constitutional rights where the amendment

actually changes the offense charged. Byram, 73 Fed. Appx. at 587 (citing Stirone v. United

States, 361 U.S. 212, 217, 80 S. Ct. 270, 4 L. Ed. 2d 252 (1960)).

        In the instant case, Defendant contends that he was charged in Counts One and Four with

the same overt act, but the Court concluded that the overt act alleged in Count Four was not

supported by the evidence and, therefore, redacted the Indictment prior to submitting it to the

jury. (Def. Mot. Pursuant to Rule 60(b)). Defendant argues that in redacting the Indictment, the

Court rendered the entire Indictment void and suggests that such “constructive amendment” to

the Indictment may have influenced the jury’s conviction.

        “For a constructive amendment to have occurred . . . the government’s presentation at


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trial, must expose defendant to criminal ‘charges that are not made in the indictment against

him.’” United States v. Sampson, 140 F.3d 585, 589 (4th Cir. 1998) (quoting United States v.

Floresca, 38 F.3d 706, 111 (4th Cir. 1994)). In the instant case, the Court concludes that even if

redacting the Indictment constituted a “constructive amendment,” this amendment did not expose

Defendant to additional criminal charges. Moreover, such amendment did not change the offense

charged, nor impermissibly broaden the bases for conviction beyond those presented to the grand

jury. United States v. Sampson, 140 F.3d 585, 589-90 (4th Cir. 1998).

       Moreover, it appears that Defendant’s Motion is thinly disguised to bring a successive

motion to vacate his sentence or conviction under Section 2255 without advance permission from

the Fourth Circuit Court of Appeals. As such, it will be denied.

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion Pursuant to Rule 60(b) of

the Federal Rules of Civil Procedure,” is hereby DENIED.



                                                 Signed: August 3, 2006




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